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                         IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

In re:                                                     )   Chapter 11
                                                           )
TZEW HOLDCO LLC, et al.,1                                  )   Case No. 20-10910 (CSS)
                                                           )
                                    Debtors.               )   (Jointly Administered)
                                                           )   Re: Docket No. 460



                              ORDER GRANTING
              FIRST QUARTERLY APPLICATION FOR COMPENSATION
                       AND REIMBURSEMENT OF EXPENSES
              OF PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
                  TO THE DEBTORS AND DEBTORS IN POSSESSION
            FOR THE PERIOD FROM APRIL 8, 2020 THROUGH JUNE 30, 2020

                  Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), as counsel to the Debtors and

Debtors in Possession in the above-captioned cases, filed its First Quarterly Application for

Compensation and for Reimbursement of Expenses for the Period from April 8, 2020 through

June 30, 2020 (the “First Quarterly Application”). The Court has reviewed the First Quarterly

Application and finds that: (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; (b) notice of the First Quarterly Application, and any hearing on the First

Quarterly Application, was adequate under the circumstances; and (c) all persons with standing

have been afforded the opportunity to be heard on the First Quarterly Application. Accordingly,

it is hereby




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Apex Parks Group, LLC (5579); Apex Real Property Holdings, LLC (1013); Speedzone Beverage
Company, LLC (2339); Speedzone Holdings, LLC (7913); Speedzone Management, LLC (2937); TZEW Holdco
LLC (0252); TZEW Intermediate Corp. (1058); and Apex Beverage and Concessions, LLC (5207). The location of
the Debtors’ service address in these chapter 11 cases is: 3405 Michelson Drive, Irvine CA 92612.


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                 ORDERED that the First Quarterly Application is GRANTED, on an interim

basis. The Debtors in the above cases shall pay to PSZ&J the sum of $891,677.50 as

compensation for necessary professional services rendered, and actual and necessary expenses in

the amount of $24,357.12, for a total of $916,034.62 for services rendered and disbursements

incurred by PSZ&J, for the period April 8, 2020 through June 30, 2019, less any amounts

previously paid in connection with the monthly fee applications.

                 ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




         Dated: November 16th, 2020                   CHRISTOPHER S. SONTCHI
         Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE



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